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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

       In re:                                                              Chapter 11

       FALLBROOK TECHNOLOGIES INC., et al.1                                Case No. 18-10384 (MFW)

                                             Debtors.                      Jointly Administered
                                                                           Hearing Date: March 26, 2018 at 10:30 a.m. (ET)
                                                                           Objection Deadline: March 19, 2018 at 4:00 p.m. (ET)

                DEBTORS’ APPLICATION FOR AN ORDER AUTHORIZING THE RETENTION
                 AND EMPLOYMENT OF SHEARMAN & STERLING LLP AS CO-COUNSEL
                     FOR THE DEBTORS NUNC PRO TUNC TO THE PETITION DATE

                             Fallbrook Technologies Inc. (“Fallbrook”), on behalf of itself and its affiliated

         debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned cases,

         hereby submits this application (this “Application”) for entry of an order authorizing the

         Debtors to retain and employ Shearman & Sterling LLP (“Shearman & Sterling”) as co-counsel

         for the Debtors, effective as of the Petition Date (defined below). In support of this Application,

         the Debtors submit the declaration of Ned S. Schodek (the “Schodek Declaration”), attached

         hereto as Exhibit A, and the declaration of Roy Messing, Chief Restructuring Officer of

         Fallbrook (the “Client Declaration”), attached hereto as Exhibit B, and respectfully represent as

         follows:

                                                              Background

                             1.       On February 26, 2018 (the “Petition Date”), each of the Debtors filed

         with the Court a voluntary petition for relief under chapter 11 of title 11 of the United States

         Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”). The cases are being jointly

         administered. The Debtors continue to operate their business and manage their properties as
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                The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
                number are: Fallbrook Technologies Inc. (7116); Fallbrook Technologies International Co. (7837); Hodyon,
                Inc. (1078); and Hodyon Finance, Inc. (5973). The Debtors’ principal offices are located at 505 Cypress Creek
                Road, Suite L, Cedar Park, Texas 78613.

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         debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee or

         examiner has been appointed in these chapter 11 cases. As of the date hereof, no creditors’

         committee has been appointed.

                             2.      Additional factual background relating to the Debtors’ business, capital

         structure, and the commencement of these chapter 11 cases is set forth in the Declaration of Roy

         Messing in Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”)

         [D.I. 13].

                                                          Relief Requested

                             3.      By this Application, the Debtors seek to retain and employ the law firm of

         Shearman & Sterling, effective as of the Petition Date, to represent the Debtors as their

         co-counsel in connection with the filing of their chapter 11 petitions and the prosecution of these

         chapter 11 cases.2 Accordingly, the Debtors respectfully request that the Court enter an order

         authorizing the Debtors to employ and retain Shearman & Sterling under a general retainer as

         their attorneys to perform the legal services that will be necessary during these chapter 11 cases.

                                                             Jurisdiction

                             4.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

         and 1334 and the Amended Standing Order of Reference from the United States District Court

         for the District of Delaware dated as of February 29, 2012. Venue is proper pursuant to 28

         U.S.C. §§ 1408 and 1409. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). The

         statutory predicates for the relief requested herein are sections 327(a) of the Bankruptcy Code,

         Rule 2014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule


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                Concurrently herewith, the Debtors have filed an application to retain Young Conaway Stargatt & Taylor, LLP
                (“YCST”) as their Delaware co-counsel under section 327(a) of the Bankruptcy Code. Shearman & Sterling
                and YCST will take the appropriate steps to ensure that there is no unnecessary duplication of efforts between
                them.
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         2014-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

         Court for the District of Delaware (the “Local Rules”).

                                                  Basis For Relief

                        5.      The Debtors have selected, and hereby seek to retain, the law firm of

         Shearman & Sterling as their bankruptcy co-counsel because of, among other things:

         (a) Shearman & Sterling’s extensive experience and knowledge in the fields of debtors’ and

         creditors’ rights and business reorganizations under chapter 11 of the Bankruptcy Code; and

         (b) Shearman & Sterling’s familiarity with the Debtors’ business affairs and potential legal

         issues in the context of these chapter 11 cases.

                        6.      Shearman & Sterling has a broad range of experience in reorganization

         and bankruptcy proceedings. Over the last several years, Shearman & Sterling has represented

         debtors, creditors, institutional lenders, and various other parties-in-interest in numerous

         bankruptcy cases, including, among others, Nuverra Environmental Solutions Inc., Pacific

         Drilling S.A., Westinghouse Electric Company LLC, Grupo Isolux Corsan, S.A., Energy Future

         Intermediate Holding Company, RCS Capital Corp., BPS US Holdings Inc., Coldwater Creek

         Inc., Lupatech S.A., Sabine Oil & Gas Corporation, Cinram, Caesars Entertainment Operating

         Company, SunEdison, Northshore Mainland Services, Inc., Molycorp, Inc., AMR Corporation,

         Applied Extrusion Technologies, Asarco LLC, Capmark Financial Group, Inc., Chemtura

         Corporation, Eastman Kodak Co., Lehman Brothers Holdings Inc., Pilgrim's Pride Corp., Pope &

         Talbot, Inc., Quebecor World Inc., Remy Worldwide Holdings, Inc., Residential Capital, LLC,

         Stock Building Supply Holdings, LLC, and Synagro Technologies Inc. Accordingly, Shearman

         & Sterling has developed significant bankruptcy and reorganization knowledge and expertise

         that will serve the Debtors well in these chapter 11 cases.


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                            7.       Prior to acting as Fallbrook’s bankruptcy counsel, Shearman & Sterling

         performed general corporate work for Fallbrook, including the “Recapitalization” matter listed in

         Schedule I to the Schodek Declaration. The Debtors engaged Shearman & Sterling to provide

         bankruptcy and restructuring advisory services pursuant to the letter agreement between

         Fallbrook and Shearman & Sterling, dated December 1, 2017, a copy of which is attached hereto

         as Exhibit C (the “Engagement Letter”).3 Throughout its engagement, Shearman & Sterling

         developed significant knowledge of the Debtors’ businesses and legal affairs and became

         familiar with the Debtors’ business plan and strategy, capital structure, material agreements, and

         other issues relevant to these chapter 11 cases. Shearman & Sterling’s recent representation of

         the Debtors included, among other things, advising the Debtors in developing and considering

         strategic alternatives, in negotiating with lenders and potential purchasers of the Debtors’

         business, and structuring, negotiating, and preparing legal documentation to file these chapter 11

         cases. As a result of providing such extensive prepetition services to the Debtors, Shearman &

         Sterling’s professionals have worked closely with the Debtors’ management and have become

         well acquainted with the Debtors’ businesses, operations, finances, debt structure, and related

         matters. Accordingly, Shearman & Sterling has significant experience and expertise regarding

         the Debtors that will allow the effective and efficient provision of legal services throughout these

         chapter 11 cases.

                A.          Services To Be Rendered

                            8.       If retained, Shearman & Sterling will render, among others, the following

         services to the Debtors at their request:


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                Additionally, the board of directors of each Debtor authorized Shearman & Sterling, pursuant to resolutions
                attached to each Debtor’s respective chapter 11 petition, to provide legal services to it pursuant to the
                Engagement Letter.

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                        (a)    legal advice with respect to the Debtors’ rights and duties as debtors in
                               possession;

                        (b)    preparation on behalf of the Debtors of all necessary applications,
                               motions, complaints, objections, responses, answers, orders, reports, and
                               other legal papers;

                        (c)    advice on obtaining debtor in possession financing (and the use of cash
                               collateral) and exit financing, and the terms and conditions of such
                               financing;

                        (d)    advice regarding the negotiation and pursuit of confirmation of a chapter
                               11 plan and approval of the corresponding solicitation procedures and
                               disclosure statement;

                        (e)    attendance at meetings and negotiations with representatives of creditors,
                               equity holders, prospective investors or acquirers, and other parties-in-
                               interest in connection with the above matters;

                        (f)    appearance before the Court, any appellate courts, and the Office of the
                               United States Trustee for the District of Delaware (the “U.S. Trustee”) to
                               protect the interests of the Debtors;

                        (g)    provision of general corporate, capital markets, mergers and acquisitions,
                               employment, tax, and litigation advice and other general non-bankruptcy
                               legal services to the Debtors, as required; and

                        (h)    performance of all other legal services for the Debtors that are necessary
                               and proper in these proceedings.

         The Debtors understand that Shearman & Sterling intends to work closely with other

         professionals retained by the Debtors, including YCST, to the extent necessary to coordinate

         representation of the Debtors and to ensure that there is no unnecessary duplication of services

         performed for or charged to the Debtors’ estates.

                B.      Disinterestedness

                        9.     To the best of the Debtors’ knowledge, except as otherwise set forth in the

         Schodek Declaration, neither Shearman & Sterling nor any partner, counsel, or associate of

         Shearman & Sterling: (a) represents entities other than the Debtors in connection with these


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         chapter 11 cases; (b) has any connections with the Debtors, their creditors, or stockholders or any

         other party in interest; or (c) holds any interest adverse to the Debtors or their estates.

                        10.     In addition, as set forth in the Schodek Declaration, Shearman & Sterling,

         its partners, counsel, and associates:

                        (a)     are not creditors, equity security holders, or insiders of the Debtors;

                        (b)     are not and were not, within two years before the Petition Date, directors,

                                officers, or employees of the Debtors; and

                        (c)     do not have an interest materially adverse to the interest of the Debtors’

                                estates or any class of creditors or equity security holders, by reason of

                                any direct or indirect relationship to, connection with, or interest in the

                                Debtors, or for any other reason.

         Accordingly, the Debtors believe that Shearman & Sterling is a “disinterested person,” as that

         term is defined in section 101(14) of the Bankruptcy Code, as modified by section 1107(b)

         thereof.

                        11.     Shearman & Sterling is conducting a continuing inquiry into any matters

         that would affect its disinterested status.      In the event additional disclosure is necessary,

         Shearman & Sterling will file a supplemental declaration with the Court setting forth any facts

         and circumstances relevant thereto.

                        12.     To the extent issues arise that would cause the Debtors to be adverse to

         any of Shearman & Sterling’s clients such that it would be inappropriate for Shearman &

         Sterling to represent the Debtors with respect to such matters, the Debtors will request that their

         bankruptcy co-counsel, YCST, represent the Debtors with respect to those matters.




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                C.           Professional Compensation

                             13.      Pursuant to section 328(a) of the Bankruptcy Code, the Debtors may retain

         Shearman & Sterling on any reasonable terms and conditions. The Debtors and Shearman &

         Sterling have agreed, therefore, that subject to the Court’s approval, for all services performed

         and expenses incurred after the Petition Date, Shearman & Sterling shall be paid its customary

         hourly rates for services that are in effect from time to time, as charged to bankruptcy and non-

         bankruptcy clients, 4 and shall be reimbursed according to Shearman & Sterling’s customary

         reimbursement policies and in accordance with sections 330 and 331 of the Bankruptcy Code,

         Bankruptcy Rule 2016, the Local Rules, and any other applicable procedures and orders of the

         Court.

                             14.      In addition, the Debtors propose to retain Shearman & Sterling under a

         general retainer (the “Retainer”)5 because of the extensive legal services that may be required

         and the fact that the nature and extent of such services are not known at this time. A portion of

         the Retainer will be applied to any outstanding balance existing immediately prior to the Petition

         Date. The excess amount of the Retainer will be credited to the Debtors and utilized as the

         Retainer to apply to postpetition fees and expenses pursuant to the compensation procedures

         approved by the Court in accordance with the Bankruptcy Code.

                             15.      In these cases, the Retainer is appropriate for several reasons. See In re

         Insilco Technologies, Inc., 291 B.R. 628, 634 (Bankr. D. Del. 2003) (Carey, J.) (“Factors to be

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                The general corporate services performed by Shearman & Sterling for Fallbrook prior to execution of the
                Engagement Letter were billed at standard hourly rates discounted by 10-15% at time of billing. All services
                performed since execution of the Engagement Letter have been billed at Shearman & Sterling’s standard hourly
                rates, as charged to bankruptcy and non-bankruptcy clients, without taking any discount at time of billing.
         5
                Shearman & Sterling received a Retainer in the aggregate amount of $250,000 prior to the Petition Date.
                Shearman & Sterling has not yet completed its final reconciliation of prepetition fees and expenses applied
                against the Retainer. Details regarding such final reconciliation will be included in Shearman & Sterling’s first
                application for interim compensation.

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         considered, include . . . whether terms of an engagement agreement reflect normal business terms

         in the marketplace; . . . the relationship between the Debtor and the professionals, i.e., whether

         the parties involved are sophisticated business entities with equal bargaining power who engaged

         in an arms-length negotiation [and] whether the retention, as proposed, is in the best interests of

         the estate . . .”); see also Statements of Bankruptcy Judge Peter J. Walsh, In re CTC

         Communications Group, Inc., Case No. 02-12873 (PJW) (Bankr. D. Del. May 22, 2003),

         transcript of hearing held May 22, 2003, at 43 (“I agree and adopt wholeheartedly Judge Carey’s

         decision in the Insilco case.”). First, these types of retainer agreements reflect normal business

         terms in the marketplace. See In re Insilco Technologies, Inc., 291 B.R. at 634 (“[I]t is not

         disputed that the taking of [security] retainers is a practice now common in the market place.”).

         Second, both Shearman & Sterling and the Debtors are sophisticated business entities that have

         negotiated the Retainer at arm’s length. Third, the retention of Shearman & Sterling is in the

         best interests of the Debtors’ estates because the Engagement Letter and Retainer allow the

         Debtors to maintain the prepetition relationship established with Shearman & Sterling. Thus,

         under the standards articulated in In re Insilco Technologies, Inc., and adopted in In re CTC

         Communications Group, Inc., the facts and circumstances of these cases support the approval of

         the Retainer.

                         16.   As described in the Schodek Declaration, Shearman & Sterling has agreed

         to its standard and customary billing arrangements. Additionally, no Shearman & Sterling

         professionals included in this engagement with the Debtors vary their rates based on the

         geographic location of their practice or these chapter 11 cases. Also, Shearman & Sterling will

         categorize billings by subject matter and such categorization will be evident in any fee

         application to be filed by Shearman & Sterling.


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                        17.      As of the Petition Date, Shearman & Sterling’s rates, which are adjusted

         from time to time include the following ranges and amounts: $950 to $1,395 for partners, from

         $925 to $1,145 for counsel, from $495 to $965 for associates, and from $260 to $435 for legal

         assistants and specialists. Shearman & Sterling’s hourly rates vary with the experience and

         seniority of the individuals assigned, and are subject to periodic adjustment to reflect economic

         and other conditions.

                        18.      Shearman & Sterling customarily is reimbursed for all expenses it incurs

         in connection with its representation of a client in a given matter. Those expenses include,

         without limitation, travel, telecommunications, express mail, messenger service, document

         reproduction, document processing, temporary employment of additional staff, overtime meals,

         Lexis and Westlaw fees, court fees, transcript costs and, in general, all identifiable expenses that

         would not have been incurred but for the representation of a particular client.          To ensure

         compliance with all applicable deadlines in these chapter 11 cases, from time to time Shearman

         & Sterling utilizes the services of overtime secretaries. Shearman & Sterling charges fees for

         these services pursuant to the Engagement Letter, which permits Shearman & Sterling to bill the

         Debtors for overtime secretarial charges that arise out of business necessity.

                        19.      Shearman & Sterling is not a creditor of the Debtors. The billing and

         payment history between Shearman & Sterling and the Debtors for the 90 days prior to the

         commencement of these chapter 11 cases is listed on Schedule I to the Schodek Declaration,

         which demonstrates the Debtors’ history of making timely payments in full.             In addition,

         Shearman & Sterling received the Retainer for professional services to be performed and

         expenses to be incurred in connection with these chapter 11 cases.




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                        20.     Shearman & Sterling acknowledges that all amounts paid to it during these

         chapter 11 cases are subject to final allowance by the Court. In the event that any fees or

         expenses paid to Shearman & Sterling during these chapter 11 cases are disallowed by the Court,

         the fees and expenses will be disgorged by Shearman & Sterling and returned to the Debtors or

         as otherwise ordered by the Court.

                        21.     No arrangement is proposed between the Debtors and Shearman &

         Sterling for compensation to be paid in these chapter 11 cases other than as set forth above and in

         the Schodek Declaration.      The Debtors understand that no agreement exists, and that no

         agreement will be entered into, for Shearman & Sterling to share with any other person or firm

         any compensation that Shearman & Sterling receives for its services to the Debtors.

                D.      Best Interests of the Estates

                        22.     Shearman & Sterling’s attorneys are highly experienced and uniquely

         skilled in the fields of bankruptcy and reorganization and have developed a deep understanding

         of the Debtors’ business, operations, and finances. The Debtors believe that Shearman &

         Sterling’s expertise in these areas is essential to the success of the Debtors’ reorganization

         efforts. Accordingly, based on the foregoing facts and authorities, the Debtors respectfully

         submit that the retention of Shearman & Sterling is in the best interest of the Debtors, their

         estates, and their creditors, and that the relief requested herein should be granted.

                                                        Notice

                        23.        Notice of this Motion will be provided to: (i) the United States Trustee

         for the District of Delaware; (ii) counsel to Kayne Anderson Capital Advisors; (iii) counsel to

         Allison Transmission, Inc., in its capacity as agent for the Bridge Noteholders; (iv) the parties

         included on the Debtors’ consolidated list of thirty (30) largest unsecured creditors, as filed with


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         the Debtors’ chapter 11 petitions; and (v) all parties that have requested notice in these chapter

         11 cases pursuant to Bankruptcy Rule 2002. The Debtors respectfully submit that, in light of the

         nature of the relief requested, no other or further notice need be given.

                        WHEREFORE, the Debtors respectfully request that the Court enter an order in

         the form attached hereto as Exhibit D, granting the relief requested in this Application and such

         other and further relief as may be just and proper.


         Dated: March 5, 2018                        Fallbrook Technologies Inc. on behalf of itself and its
                                                     affiliated Debtors and Debtors in Possession

                                                     By: /s/ Roy Messing
                                                     Name: Roy Messing
                                                     Title: Chief Restructuring Officer




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